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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA

               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                        MISSOULA DIVISION

 UNITED STATES OF AMERICA,                  CR 20-46-M-DLC

             Plaintiff,                     SENTENCING MEMORANDUM

       vs.

 SCOTT MICHAEL GEORGE
 DANIELS,

             Defendant.



                              INTRODUCTION

      On January 21, 2021, Scott Daniels pleaded guilty to Count I which

charges Conspiracy to Possess with the Intent to Distribute Methamphetamine, in

violation of 21 U.S.C. § 846. PSR ¶ 8. The presentence investigation report has


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calculated an advisory Guideline range of 78 to 97 months, based on a total offense

level of 27 and a criminal history category of II. PSR ¶ 139. The United States

will recommend a sentence within the advisory Guideline range ultimately

calculated by the Court.

                              RECOMMENDATION

      Section 3553(a) of Title 18 of the United States Code contains the following

directive: “The court shall impose a sentence sufficient, but not greater than

necessary, to comply with the purposes set forth in paragraph (2) of this

subsection.” Those purposes include the need for the sentence to: (1) reflect the

seriousness of the offense; (2) promote respect for the law; (3) provide just

punishment for the offense; (4) afford adequate deterrence to criminal conduct;

(5) protect the public from further crimes of the defendant; and (6) provide the

defendant with needed educational or vocational training, medical care, or other

correctional treatment in the most effective manner. 18 U.S.C. § 3553(a)(2).

      The Court must also consider the nature and circumstances of the offense,

the history and characteristics of the defendant, the kinds of sentences available,

the sentencing guidelines and policy statements, and unwarranted sentencing

disparities, and restitution to the victim. 18 U.S.C. § 3553(a)(1), (3) - (7).

      Law enforcement received information from several sources that Mr.

Daniels was distributing methamphetamine. PSR ¶¶ 18-21. Law enforcement


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executed a search warrant on Daniels’ property on September 30, 2020. PSR ¶

22. Officers recovered several guns from the residence, one that was reported

stolen on July 8, 2020. PSR ¶¶ 25-26. Officers located methamphetamine,

heroin, body armor, and firearms on the property. PSR ¶ 25. Mr. Daniels

admitted distributing between 49 to 60 ounces of methamphetamine between May

2020 and September 2020. PSR ¶ 36.

      The United States’ recommends dismissal of Counts I and III and that the

Court decrease Mr. Daniels’ offense level by three levels for acceptance of

responsibility pursuant to the plea agreement. Given the application of the

relevant statutory factors to the facts in this case, including Mr. Daniels’ conduct,

history and characteristics, and the need for deterrence and to protect the

community, the United States recommends a sentence with the advisory Guideline

range ultimately calculated by the Court.

      DATED this 30th day of April 2021.

                                                LEIF M. JOHNSON
                                                Acting United States Attorney


                                                /s/ Jennifer S. Clark
                                                Assistant U.S. Attorney
                                                Attorney for Plaintiff




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